    Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 1 of 18               PageID #: 167




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE



UNITED STATES                                   )
                                                )    Docket No. 2019-CR-175-NT
     v.                                         )
                                                )
ALEXIS BOYD                                     )
                                                )


                      BRIEF OF AMICUS CURIAE THE
          AMERICAN CIVIL LIBERTIES UNION OF MAINE FOUNDATION

          The American Civil Liberties Union of Maine Foundation (“ACLU of Maine”)

submits this amicus curiae brief in support of Defendant Alexis Boyd, to assist the Court

in resolving the issues in the case.

          The ACLU of Maine is a nonprofit, nonpartisan organization founded in 1968 to

protect and advance the civil rights and civil liberties of all Mainers. The ACLU of Maine

strives to ensure the protection of the rights guaranteed and secured by the Maine and

United States Constitutions, including the right to equal protection of the laws and

protection against race-based discrimination.

I.        INTRODUCTION

          The Maine State Police admit that “[t]he act of racial profiling by law

enforcement is illegal,”1 but their actions are not always consistent with their words.

The facts presented in Ms. Boyd’s motions suggest that the Maine State Police routinely

violate the Fourth and Fourteenth Amendment rights of Black drivers on Maine’s

highways. As discussed below, this brand of racial profiling is commonplace in our



1   Maine State Trooper Faces Racial Profiling Allegations, ASSOCIATED PRESS (Oct. 8, 2020).
                                                 1
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 2 of 18                         PageID #: 168




country and, as a result, distrust in our criminal justice system has reached an all-time

high. There are plenty of places to assign blame for this crisis of confidence, but the

reality is that the blame cannot stop with the police. The practice of racial profiling will

only end if everyone involved in the criminal legal system—police, prosecutors, defense

attorneys, jurors, judges, and amici curiae—stops excusing and allowing it. This must

happen one case at a time and so, to confirm that racial profiling is illegal in theory and

in practice, the Court should grant the requested relief, suppress evidence from the stop,

and allow Ms. Boyd’s request for discovery.

II.     The problem of racial profiling by law enforcement.

        Racial profiling by police—including at traffic stops—is all too common. Black

people in America are more likely to be pulled over by police while driving than white

people. See, e.g., Radley Balko, There’s overwhelming evidence that the criminal justice

system is racist. Here’s the proof, The Washington Post (June 10, 2020) (citing

numerous studies).2 They are more likely to be stopped when not driving. After they are

stopped, Black people are more likely to be searched,3 and are more likely to be ticketed


2 One study, for example, considered 95 million traffic stops by 56 police agencies and “found
evidence that the bar for searching black and Hispanic drivers was lower than that for searching
white drivers.” Pierson, et al., A large-scale analysis of racial disparities in police stops across the
United States, Nature Human Behavior 4, 736-746 (2020), available at
https://www.nature.com/articles/s41562-020-0858-1. These results “indicate[d] that police
stops and search decisions suffer from persistent racial bias and point to the value of policy
interventions to mitigate these disparities.” Id. Another reported that Black motorists were 30
percent more likely to be pulled over than white motorists in Cincinnati. Editorial Board, Racial
disparities in police stops demand attention, The Enquirer (Dec. 20, 2019), available at
https://www.cincinnati.com/story/opinion/2019/12/20/editorial-racial-disparities-police-
stops-demands-attention/2666685001/. Another reported that Black people in California were
stopped at a rate 2.5 times higher than the per capita rate of whites. Don Thompson, Report:
California Cops More Likely to Stop Black Drivers, U.S. News (Jan. 2, 2020), available at
https://www.usnews.com/news/best-states/california/articles/2020-01-02/report-california-
cops-more-likely-to-stop-black-drivers.
3A 2019 report from Vermont, for example, found that Black drivers were six times more likely
than white drivers to be searched by police after a traffic stop. Balko, supra n.1, (citing Aidan
                                                   2
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 3 of 18                   PageID #: 169




and arrested. Id. Statistics around drug-related arrests are particularly striking. Black

and white Americans sell and use drugs at similar rates, but Black Americans are 2.7

times as likely to be arrested for drug-related offenses.4 Sadly, and notoriously, race-

based policing extends beyond stops, searches and arrests. Id. Black people are far more

likely to be killed by police in America. Id.5 Of the 1,127 people killed by police in this

country last year, 28 percent were Black, even though only 13 percent of the population

is Black.6

       It is not surprising that widespread discriminatory policing has led to an

overwhelming lack of confidence in law enforcement and our criminal justice system,

especially among Black Americans. A Gallup poll last year found that only 19 percent of

Black respondents had a great deal of confidence in police, compared to 56 percent of

white respondents. See Jeffrey M. Jones, Black, White Adults’ Confidence Diverges

Most on Police, GALLUP (Aug. 12, 2020). And cumulatively, “[f]or the first time in its 27



Quigley, Racial disparities, search rates decline in Burlington police traffic stops, VT Digger,
(July 20, 2019), available at https://vtdigger.org/2019/07/30/racial-disparities-search-rates-
decline-in-burlington-police-traffic-stops/. And another from North Carolina found that Blacks
and Latinos were more likely to be searched than whites, even though searches of white
motorists were more likely to turn up contraband Id (citing Camelia Simoiu, et al., The Problem
of Infra-marginality in Outcome Tests for Discrimination (June 20, 2017), available at
https://arxiv.org/pdf/1607.05376.pdf).
4Rates of drug use and sales, by race; rates of drug related criminal justice measure, by race.
The Hamilton Project (Oct. 21, 2016), available at https://www.hamiltonproject.org/charts/
rates_of_drug_use_and_sales_by_race_rates_of_drug_related_criminal_justice.
5 Statistics on racial profiling by police in Maine are unavailable because “Maine law
enforcement agencies lack the data needed to address racial disparities” in our state. Matt
Byrne, Maine Law Enforcement Agencies Lack the Data Needed to Address Racial Disparities,
PORTLAND PRESS HERALD (June 19, 2020). Unfortunately, there is no reason to think that the
trends in Maine are any different than those nationally.
6See MAPPING POLICE VIOLENCE, https://mappingpoliceviolence.org (last accessed January
19, 2021); Fatal Force: 980 people have been shot and killed by police in the past year,
WASHINGTON POST (Jan. 18, 2021) (227 Black people were shot and killed by police in 2020
alone).

                                               3
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 4 of 18                  PageID #: 170




years of measuring attitudes toward the police, Gallup found that a majority of

American adults do not trust law enforcement.” Aimee Ortiz, Confidence in Police Is at

Record Low, Gallup Survey Finds, THE NEW YORK TIMES (Aug. 12, 2020).

       Beyond the statistics, this crisis of confidence affects how people interact with

police on a local level. In one opinion detailing and condemning the history of racist

police practices in America, federal Judge Carlton Reeves of the Southern District of

Mississippi notes that “Black male teens …report a fear of police and a serious concern

for their personal safety and mortality in the presence of police officers.” See Jamison v.

McLendon, 2020 WL 4497723, at *22 (S.D. Miss. Aug. 4, 2020) (internal citations

omitted). Chief Judge Gregory of the Fourth Circuit Court of Appeals has likewise

explained that “aggressive” and “discriminatory” police tactics are counterproductive

because “arrests and successful prosecutions are unlikely without cooperating

witnesses.” United States v. Curry, 965 F.3d 313, 333 (4th Cir. 2020) (Gregory, C.J.,

concurring) (internal citations omitted). Such “alienation cannot be good for the police,

the community, or its leaders. Fostering trust and confidence between the police and the

community would be an improvement for everyone.” Floyd v. City of New York, 959 F.

Supp. 2d 540, 557 (S.D.N.Y. 2013).7

       Lastly, and perhaps most importantly, discriminatory policing has a very human

toll. Even when unjustified stops and searches do not result in an arrest, injury or death,

and even though “any one stop is a limited intrusion in duration and deprivation of



7These concerns are relevant to the legal issues in this case. Under the Fourth Amendment, for
example, “the degree of community resentment aroused by particular practices is clearly
relevant to an assessment of the quality of the intrusion upon reasonable expectations of
personal security.” Floyd, 959 F. Supp. 2d at 557 (quoting Terry v. Ohio, 392 U.S. 1, 14 n.11
(1968)).

                                               4
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 5 of 18                 PageID #: 171




liberty, each stop is also a demeaning and humiliating experience.” Id. The overarching

principal must be that no person should be demeaned, humiliated, hurt or killed on the

basis of their race, and especially not by police.

III.   Racial profiling is unconstitutional

       Not only does racial profiling reduce faith in our criminal justice system, it is also

unconstitutional. “Selective enforcement of motor vehicle laws on the basis of race is a

violation of the Equal Protection Clause of the Fourteenth Amendment.” Flowers v.

Fiore, 359 F.3d 24, 34 (1st Cir. 2004) (citing Chavez v. Ill. State Police, 251 F.3d 612,

635 (7th Cir.2001); see also Whren v. United States, 517 U.S. 806, 813 (1996)). It is

“exceedingly clear” that under the Fourteenth Amendment “police may not target

drivers for traffic stops, citations, and further investigation because of their race.”

Commonwealth v. Long, 485 Mass. 711 (2020); see also Floyd, 959 F. Supp. 2d at 570

(New York City’s stop and frisk practices unconstitutional because the Fourteenth

Amendment “prohibits intentional discrimination on the basis of race”) (citation

omitted). The Ninth Circuit has explained that race is not an “appropriate factor” for

police to consider because:

              police stops based on race or ethnic appearance send the underlying
              message to all our citizens that those who are not white are judged
              by the color of their skin alone. Such stops also send a clear message
              that those who are not white enjoy a lesser degree of constitutional
              protection—that they are in effect assumed to be potential criminals
              first and individuals second.

United States v. Montero-Camargo, 208 F.3d 1122, 1135 (9th Cir. 2000). Because the

practice violates fundamental rights of its victims, courts have an obligation, at a




                                              5
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 6 of 18                               PageID #: 172




minimum, to “take[ ] seriously an allegation of racial profiling.” See Floyd, 959 F. Supp.

2d at 660 (quoting United States v. Davis, 11 F. App’x 16, 18 (2d Cir. 2001)).

        In addition to violating the constitutional right to equal protection, the practice of

racial profiling8 often leads, as it did here, to stops and searches that violate the Fourth

Amendment. In a recent notable decision reprimanding the City of New York for its

stop-and-frisk practices, the U.S. District Court for the Southern District of New York

acknowledged that police stops based on race violate the Fourth and Fourteenth

Amendment requirements that, respectively, “all stops be based on ‘reasonable

suspicion’ as defined by the Supreme Court of the United States,” and “second, that

stops be conducted in a racially neutral manner.” Floyd, 959 F. Supp. 2d at 556. A

similar challenge concerning the City of Milwaukee’s stop-and-frisk program resulted in

a consent decree mandating, as the Constitution requires, that all stops to be based on

reasonable suspicion and prohibiting officers “from relying to any degree on an

individual’s race” or other protected characteristics. See Order and Settlement

Agreement at 6-7, Collins v. City of Milwaukee, Docket No. 17-cv-234-JPS, ECF No. 135

(July 23, 2018).

        The U.S. Department of Justice (DOJ) has also, in cases that are not this one,

called out police departments for racial profiling. The DOJ has used its powers under



8In one consent decree, the U.S. Department of Justice Special Litigation Division defined “racial
profiling” as follows:
         [T]he consideration by an officer, in any fashion or to any degree, of the race or ethnicity
         of any civilian in deciding whether to surveil, stop, detain, interrogate, request consent to
         search, or search any civilian; except when officers are seeking to detain, apprehend or
         otherwise be on the lookout for a specific suspect sought in connection with a specific crime
         who has been identified or described, in part, by race or ethnicity and the officer relies, in
         part, on race or ethnicity in determining whether reasonable suspicion exists that a given
         individual is the person being sought.
Consent Decree, Ledford v. City of Highland Park, No. 00-c-4212 (N.D. Ill. Aug. 6, 2015).


                                                      6
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 7 of 18                    PageID #: 173




42 U.S.C. § 14141 (concerning unlawful conduct of law enforcement agencies), for

example, to investigate the New Orleans Police Department, finding “a pattern or

practice of,” inter alia, “unlawful stops, searches, and arrests” and “discrimination on

the basis of race.” 9 The Department has likewise sued (along with a number of

individual plaintiffs) Maricopa County, Arizona for widespread racial profiling, resulting

in an injunction to stop the unconstitutional police practice and an order creating a

victim compensation fund. See Melendres v. Maricopa Cty., 897 F.3d 1217 (9th Cir.

2018). While the DOJ’s efforts to combat racial profiling are helpful, too many

individual victims of race-based policing are on the wrong end of DOJ’s proverbial

spear, required to navigate a criminal justice system that has not historically protected

victims of racial profiling.10 Alexis Boyd is one such victim which is why her motions

should be granted.

IV.    Ms. Boyd’s motions should be granted because Trooper Darcy
       stopped her because she is Black, as he has many drivers.

       When evaluating Trooper Darcy’s decision to stop Ms. Boyd, there are a few key

details in the record that are worth repeating. The Trooper initially said that he stopped

Ms. Boyd’s car because it had crossed the fog line “two, almost three times.” (Mot. for


9 The Civil Rights Division’s Pattern and Practice Police Reform Work: 1994-Present at 45 (Jan.
2007) available at https://www.justice.gov/crt/file/922421/download. See also id. (stating that
“[i]n Ferguson, Missouri, for example, the Division revealed that African-Americans were 26%
less likely to be found with contraband after a search, even though that group was twice as likely
as others to be searched during a traffic stop” and that DOJ “conducted similar analyses in
Baltimore and other cases”).
10As the Black Lives Matter movement heightens our national awareness of racial injustice,
courts seem to be rethinking stale doctrines like qualified immunity. See Anya Bidwell & Patrick
Jaicomo, Lower courts take notice: the Supreme Court is rethinking qualified immunity, USA
TODAY (Mar. 2, 2021); see also Stamps v. Town of Framingham, 813 F.3d 27 (1st Cir. 2016) (no
sovereign immunity because Fourth Amendment protects against reckless, though accidental,
police killing). This is a welcome trend, but one that needs to accelerate if the American legal
system is to overtake the seemingly-intractable problem of unconstitutional police practices.
                                                7
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 8 of 18                     PageID #: 174




Disc. Ex. 2.) Later, he apparently felt more comfortable with the number “three,” writing

in his report that the car crossed the fog line three times before the stop. (Mot. for Disc.

Ex. 1.) But, according to Ms. Boyd’s filings, the dashcam footage confirms that the car

did not cross the fog line two or three times – the only time the car crossed the fog line

was when Trooper Darcy’s flashing lights commanded the car to pull over to the

shoulder of the highway. (Mot. for Disc. Ex. 2.) The only other justification the Trooper

gave for the stop was that the vehicle was traveling “like 45 miles per hour” in a 45-65

mile per hour zone (id.), but this did not make it into his report. (Mot. for Disc. Ex. 1.)

       When considering the totality of the circumstances, including Trooper Darcy’s

credibility, it is also important to consider that Mr. Green, the driver, is a Black man

who wears his hair in dreadlocks. Trooper Darcy has previously stated about another

Black man that “[h]e looks like a thug” because “he’s wearing a wifebeater, he’s got

dreads.” (Mot. for Disc. at 10) (providing transcript of Trooper Darcy’s comments in

relation to a different traffic stop, United States v. Walker, 2:19-cr-00220-JDL.).11 In

the same recording, Trooper Darcy also stated “I’m interested in thugs” and “[t]hat’s not

racial profiling.” Trooper Darcy undoubtedly thought he was being “proactive”,

consistent with the training of his Proactive Criminal Enforcement Team, when he

stopped Ms. Boyd and Ms. Walker. As discussed below, however, the facts leading to

Ms. Boyd’s arrest did not create “reasonable suspicion” of criminal activity and, instead,




11Trooper  Darcy is apparently capable of identifying the race and hairstyle of drivers at night,
given that his prior diatribe about “thugs” and dreadlocks occurred at approximately 9 PM in a
pursuit and traffic stop of a driver meeting that description. See Megan Gray, State lawmaker
files complaint about award for trooper accused of racial profiling, PORTLAND PRESS HERALD
(Feb. 11, 2021), available at https://www.pressherald.com/2021/02/11/state-legislator-files-
complaint-against-trooper-accused-of-racial-profiling/ (embedding the dashcam video with
Trooper Darcy’s comments).
                                                8
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 9 of 18               PageID #: 175




raise a real concern that Trooper Darcy stopped Mr. Walker and Ms. Boyd for the simple

and unconstitutional reason that they are Black.

          A. The Court should grant Ms. Boyd’s motion to suppress.

       It is important to enforce the law prohibiting racial profiling by granting Ms.

Boyd’s motion to suppress. Considering the totality of the circumstances, the

government cannot meet its burden of showing that Trooper Boyd’s stop and search of

Ms. Boyd’s vehicle was “supported by reasonable suspicion that criminal activity may be

afoot.” United States v. Monteiro, 447 F.3d 39, 43 (1st Cir. 2006). Given the past

discriminatory practices of Trooper Boyd and his Proactive Criminal Enforcement

Team, coupled with the lack of credible articulable suspicion before the stop, the Court

should suppress any evidence obtained by the Maine State Police, which will serve to

reinforce the First Circuit’s admonition that racial profiling by law enforcement is

unconstitutional.

       In her motion to suppress, Ms. Boyd explains that the Court must look at the

“totality of the circumstances” using a “commonsense, case-by-case” analysis to decide

whether Trooper Darcy had reasonable suspicion to stop her car. (Mot. to Suppress at 5,

citing United States v. McGregor, 650 F.3d 813, 821 (1st Cir. 2011).) This strand of

Fourth Amendment law requires an objective analysis, viewing the totality of the

circumstances “through the lens of a reasonable police officer.” United States v.

Dapolito, 713 F.3d 141, 148 (1st Cir. 2013). But there is a second strand to the

reasonable-suspicion standard, one that requires “that weight must be given to the

police officers’ training and experience.” United States v. Ramos, 629 F.3d 60, 65-66

(1st Cir. 2010). See also United States v. Wright, 582 F.3d 199, 207 (1st Cir. 2009) (“We



                                             9
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 10 of 18                 PageID #: 176




agree that the proper focus is an objective one, but we disagree that the inferences made

by police officers area irrelevant in all instances”).

       Both strands of the reasonable-suspicion standard are fact-specific and “less

circumscribed by precedent than otherwise” because the Supreme Court intends it to be

useful for “guiding officers in the field.” United States v. Arvizu, 534 U.S. 266, 275-6

(2002). Put differently, in evaluating whether Trooper Darcy’s suspicions were

reasonable given the facts of this case, one of the Court’s mandates is to “provid[e] law

enforcement officers with a defined set of rules” for conducting traffic stops and

searches. Ornelas v. United States, 517 U.S. 690, 697 (1996).

       Because the Court’s analysis will be used to “guid[e] officers in the field” (Arvizu,

534 U.S. at 275), the Court cannot (and need not) ignore Trooper Darcy’s history of

racist policing. The troubling rhetoric (“It’s not a hunch if your discoveries are based on

Training and Experience”) and behavior of his Proactive Criminal Enforcement Team is

likewise material to the Court’s totality-of-the-circumstances analysis. See Boyd Mot. for

Disc. at 11-14 & Exh. 4. Whatever “set of rules” is currently guiding Trooper Darcy and

his brethren in the Maine State Police, it is obviously incomplete, missing the

fundamental requirement that police may not stop a motorist because she looks like a

“thug” (Mot. for Disc. at 10) or because she is Black. See e.g. Montero Camargo, 208

F.3d at 1134 n. 22 (“persons of a particular racial or ethnic group may not be stopped

and questioned because of [their] appearance, unless there are other individualized or

particularized factors which, together with the racial or ethnic appearance identified,

rise to the level of reasonable suspicion”). It is the Court’s job to fix this omission and

“guide the officers in the field” (Arvizu, 534 U.S. at 275) – i.e. the Maine State Police –

away from racist policing practices that are both unconstitutional and ineffective.

                                              10
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 11 of 18                   PageID #: 177




       Although the Court has been instructed that the “actual motivations” of Trooper

Darcy are irrelevant when evaluating the reasonableness of his decision to stop Ms.

Boyd (Whren v. United States, 517 U.S. 806, 813 (1996)), Whren does not preclude the

Court from considering the Trooper’s training and experience, including his training in

so-called “proactive enforcement” and his considerable experience stopping Black

motorists. Ramos, 629 F.3d at 65. Moreover, the First Circuit has acknowledged that

“the inferences made by police officers are” relevant to Fourth Amendment analysis,

Wright, 582 F.3d at 207, and the Court should not ignore Trooper Darcy’s inference that

a Black man with dreadlocks is, in his words, a “thug”, especially because Mr. Green is a

Black man with dreadlocks.12 In deciding whether Trooper Darcy’s suspicions were

reasonable and the stop justified, “weight must be given” to Trooper Darcy’s training,

experience and well-documented racist inferences (Ramos, 629 F.3d at 65), weight that,

in this case, tips the scales toward the conclusion that Trooper Darcy’s stop of Ms. Boyd

was unconstitutional and unsupported by reasonable suspicion, and that the fruits of

that stop should be suppressed.




12Though courts have traditionally treated an officer’s experience, training and heat-of-the-
moment inferences as factors supporting the lawfulness of a stop, there is no reason these
factors cannot also lead to a decision that the officer’s suspicions in a particular case were
unreasonable. Courts will consider an officer’s inferences, after all, because they presume that
the officer’s training and experience allow him to reach conclusions based on discrete
information that an ordinary person would not reach. See Ornelas, 517 U.S. at 699. But if, rather
than leading an officer to suspect that a loose panel in a car contains contraband, for example
(id.), this training and experience instead leads an officer to suspect someone is engaged in
criminal activity because of their race, this is equally material to the reasonableness of the
officer’s suspicions.




                                               11
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 12 of 18                  PageID #: 178




       The Court’s decision on the pending motions will have an impact beyond Ms.

Boyd’s case; it will also serve to remind officers operating in the District of Maine that

racist policing is unconstitutional and that honesty is paramount to the public’s trust in

the police. Ms. Boyd correctly points out that one of Trooper Darcy’s stated reasons for

stopping her vehicle, that it crossed the fog line multiple times, is contradicted by his

dash cam footage. (Mot. to Suppress at 5-6.) Amicus believes this discrepancy is

attributable to Trooper Darcy’s training in “proactive enforcement” and his history of

using this training on Maine’s highways. When he saw a vehicle driven by a Black man,

with a Black woman (Ms. Boyd) in the passenger seat, Trooper Darcy had a “hunch”

and, if his P.A.C.E training taught him anything, it was that he wasn’t going to “let them

go because [he] didn’t think [he] had enough to stop them for.” (Mot. for Discovery Ex.

4.) Instead, as he learned from P.A.C.E., he wrote his report “with proper, descriptive

phraseology,” even if the description and the “phraseology” were not actually true. (Mot.

for Discovery Ex. 4.) This type of post hoc justification for a racist traffic stop is not

unique to Trooper Darcy, which is likely one reason that public confidence in police is at

an all-time low. See supra at 3-4.

       To determine whether Trooper Darcy’s suspicions of Ms. Boyd were reasonable

and his post hoc justifications truthful, the Court must evaluate his credibility. Ornelas

v. United States, 517 U.S. 690, 700 (1996) (part of Fourth Amendment analysis includes

determining whether the officer is credible). Trooper Darcy’s previous statements on

race and his pattern of stopping Black drivers are necessarily part of this evaluation. See

Fed. R. Evid. 607 & 608. By emphasizing the need for officers to be truthful and by

explicitly recognizing the racist bent to Trooper Darcy’s training, experience and

inferences, the Court can rewrite the rulebook that is currently in circulation, at least

                                              12
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 13 of 18               PageID #: 179




among the Maine State Police Pro-Active Enforcement Team. The Court should grant

Ms. Boyd’s motion to suppress and give notice that the commonplace practices of

Trooper Darcy violate the Fourth Amendment.

          B. The Court should grant Ms. Boyd’s motion for discovery

       The discovery requested by Ms. Boyd is necessary and appropriate given the

recent pattern of race-based policing by Trooper Darcy and his Proactive Criminal

Enforcement Team. Ms. Boyd urges the Court to conclude that the standard for

discovery in selective prosecution claims, as established by Armstrong v. United States,

517 U.S. 456 (1992), should not apply to claims of selective enforcement by police

officers. (Mot. for Disc. at 21-22.) As discussed below, there are good legal and policy

reasons for the Court to reach this conclusion. But even if the First Circuit did eventually

decide that Armstrong applies, the factual showing in this case is strong enough to meet

that heightened standard anyway.

       As an initial matter, the Court should follow the lead of the Third, Fourth,

Seventh, and Ninth Circuits (and the Southern District of New York) and apply a lower

standard for discovery in selective enforcement claims, as opposed to the heightened

Armstrong standard applied in selective prosecution cases. (Mot. for Disc. at 19-20 &

nn.8-13.) The standard for discovery established by Armstrong v. United States is

famously self-defeating, requiring a defendant to make a “credible showing of different

treatment of similarly situated persons” and present “some evidence” of the prosecutors’

discriminatory intent. Id. 517 U.S. at 468 & 470. This test has been described as an

“insuperable discovery standard” that “creates an abstract right without a remedy.”

Alison Siegler & William Admussen, Discovering Racial Discrimination by the Police,

Northwestern Law Review 115:1 (2021) at 5. “Armstrong’s cruel catch-22” is that a

                                            13
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 14 of 18                PageID #: 180




defendant “must provide evidence of discrimination to obtain discovery about

discrimination.” Id. at 6. Yet, as Ms. Boyd explains, Armstrong addresses claims of

selective prosecution; it is far from clear that the standard should also apply to claims of

racial discrimination by law enforcement, especially in the First Circuit where the

question remains undecided. (Mot. for Disc. at 15 - 22.)

       There is good reason to decide that Armstrong should not apply to claims of

selective law enforcement. Prosecutors and police are fundamentally different. The

unique immunity and work product protections that must be overcome in selective

prosecution claims do not apply to law enforcement. The Seventh Circuit has explained

that Armstrong reflects “a strong presumption of honest and constitutional behavior”

on the part of federal prosecutors, a presumption that does not extend to law

enforcement because “[u]nlike prosecutors, agents regularly testify in criminal cases,

and their credibility may be relentlessly attacked by defense counsel.” United States v.

Davis, 793 F.3d 712, 720 (7th Cir. 2015). Agreeing with the Seventh Circuit, and noting

that police officers “are expected to testify in criminal cases, with their honesty and

candor open to challenge”, the Third Circuit has also adopted a lower discovery standard

for claims of selective law enforcement, requiring only “some evidence of discriminatory

effect.” United States v. Washington, 869 F.3d 193 (3d Cir. 2017).

       Most recently, the Ninth Circuit has joined the fray, emphasizing that the

reasoning of Armstrong does not apply to police because, unlike prosecutors, their

“investigatory decisions are regularly questioned at trial, and their credibility is put

before courts and juries.” United States v. Sellers, 906 F.3d 848, 853 (9th Cir. 2018).

The Ninth Circuit declined to adopt a specific standard for discovery of claims involving

racial discrimination by police, instead deciding that “a defendant must have something

                                             14
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 15 of 18                  PageID #: 181




more than mere speculation to be entitled to discovery” but “what that something looks

like will vary from case to case. The district court should use its discretion—as it does for

all discovery matters—to allow limited or broad discovery based on the reliability and

strength of the defendant’s showing.” Id. at 855 (emphasis in original).13 Treating

police officers differently than prosecutors makes sense because, aside from the fact that

officers’ credibility is routinely at issue in criminal cases, “[p]rosecutors are ordinarily

shielded by absolute immunity for their prosecutorial acts, but police officers and

federal agents enjoy no such categorical protection.” Washington, 869 F.3d at 219. It

does not make sense to protect police officers from discovery to the same degree as

prosecutors.

       The First Circuit has not addressed whether the “insuperable” Armstrong

standard for discovery also applies to claims of racial discrimination by police and the

Court should adopt the sound reasoning of Seventh, Third and Ninth Circuits. The

credibility of Trooper Darcy, his intent, and the policies and practices of the Maine State

Police are decidedly at issue in Ms. Boyd’s motion to suppress and her motion to

dismiss, as they are in several other pending criminal cases. (Boyd. Mot. for Disc. at 8 -

11.) The Court cannot fully and fairly evaluate Trooper Darcy’s credibility or the




13These opinions from the Seventh, Third and Ninth Circuits all concerned challenges to so-
called reverse sting or stash house operations by federal agents, in which undercover agents
approach targets with an opportunity to rob a stash house containing a large quantity of drugs.
There is no stash house to rob but when the targets meet up to carry out the plan (which the
federal agents talked them into) they are arrested for conspiracy to commit robbery, among
other crimes. See Sellers, 906 F.3d at 850 (describing stash house operations). These operations
overwhelmingly, almost exclusively, target people of color. See Shayna Jacobs, 10 years. 179
Arrests. No White Defendants. DEA Tactics Face Scrutiny in New York. WASH. POST (Dec. 14,
2019). While Ms. Boyd’s case is obviously not a stash house operation, these opinions are
equally applicable to claims of racist or “proactive” police practices on the highway which also
appear to disproportionately and intentionally target Black drivers.

                                               15
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 16 of 18               PageID #: 182




lawfulness of his traffic stop without the discovery requested. Because there is no

reason, in terms of precedent or policy, for the Court to protect Trooper Darcy or his

record from reasonable scrutiny, discovery should be allowed.

       Here, even if the Court applies Armstrong, it should permit discovery because

Ms. Boyd can present evidence sufficient to show discriminatory effect and

discriminatory intent. Under the first prong of the Armstrong test, the data provided by

Ms. Boyd suggesting that Trooper Darcy’s team stops Black drivers twice as often as

white drivers (Mot. for Disc. at 14) is a “credible showing of different treatment of

similarly situated persons” of another race. Armstrong, 517 U.S. at 470. Given that there

are many more white drivers than Black drivers on Maine’s highways, it is hard to

imagine a more credible showing, without discovery, that Trooper Darcy and his

colleagues treat white drivers differently.

       Ms. Boyd has also satisfied the second prong of Armstrong, requiring “some

evidence” of discriminatory intent on the part of Trooper Darcy. See Armstrong, 517

U.S. at 468. The Trooper’s commentary on Terrel Walker (“he’s wearing a wifebeater,

he’s got dreads. He looks like a thug…I’m not profiling him racially” (Mot. for Disc. at

10)) certainly provides “some evidence” that Trooper Darcy intentionally discriminates

against Black people as part of his proactive policing strategy. Id. This evidence is even

stronger because the driver in this case, Mr. Green, is a Black man with dreadlocks.

       The evidence currently in Ms. Boyd’s possession may not be dispositive in this

case, but it shows that Trooper Boyd and his team routinely profile Black drivers and

that the Trooper specifically profiles Black men with dreadlocks such as the driver of the

car here. This must be enough to trigger discovery, the purpose of which is to gather the

information solely in possession of the government that is needed to prove claims of

                                              16
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 17 of 18             PageID #: 183




racial discrimination. If the Court concludes that the evidence presented by Ms. Boyd is

insufficient to allow discovery, then the practical reality of Armstrong may be that

claims of selective enforcement against police are impossible to pursue. Such a result

would further erode public confidence in our criminal justice system by sending the

harmful message that police can profile with impunity and victims are helpless to fight

back.

                                    CONCLUSION

        Ms. Boyd’s motion to suppress and motion for discovery should be granted for

the reasons explained above.

April 20, 2021

                                                        /s/ Matthew Warner___
                                                        Matthew Warner
                                                        Maine Bar No. 4823
                                                        Preti Flaherty Beliveau &
                                                        Pachios LLP
                                                        One City Center
                                                        P.O. Box 9546
                                                        Portland, ME 04112-9546
                                                        207.791.3000
                                                        mwarner@preti.com

                                                        /s/ Zachary L. Heiden
                                                        Zachary L. Heiden
                                                        /s/ Emma E. Bond
                                                        Emma E. Bond
                                                        American Civil Liberties Union
                                                        of Maine Foundation
                                                        P.O. Box 7860
                                                        Portland, Maine 04112
                                                        (207) 619-6224
                                                        heiden@aclumaine.org
                                                        (207) 619-8687
                                                        ebond@aclumaine.org

                                                        Attorneys for American Civil
                                                        Liberties of Maine Foundation


                                            17
Case 2:19-cr-00175-NT Document 44 Filed 04/20/21 Page 18 of 18               PageID #: 184




                               CERTIFICATE OF SERVICE
       I hereby certify that on April 20, 2021, I electronically filed the Brief of Amicus
Curiae with the Clerk of Court using the CM/ECF system, which will send notifications
of such filings to all counsel of record.


                                          /s/ Matthew Warner________
                                          Matthew Warner
                                          Preti Flaherty Beliveau & Pachios LLP
                                          Attorney for American Civil Liberties of Maine
                                          Foundation




                                            18
